EOIL CZH,EWU mH>.H~wm w>._/…§CHA.O< OO.GW,_l

 

 

 

 

 

 

 

 

 

Q»mm z>§m.. P._Bm§ _m:m_1 _ FO _umd:oz U>Hm.‘ omb:m

§mm zczmmm.. .G.m._wmm-nm h L_ Qm§.§. Qn .__.m§m.. <<mm»m§

.um.O_uOmmD nga bb.__.m.. §SYOZ.. mms >203_0

=\._OZHI._.. < O_umm> H..ZQ Dm.oOIH mC__§S>D< T,OD ._SOZHI d _ - §§ <m>m. 8 ~ m

EQZE __

§§z§m ;\§~,Q §§Q§ @m;~w¥ 93 93 93 @.3__

EQQ§W mm§xmz_…,.. dm§mm.m§ §Qx.& 93 mm_§@..¥ puc Q.S 93 O.B__

§§209§ PQ@ §Qm-® c:§g_§ §§qu 93 93 93 @.3__

§w§,§ § EmSm§ §9~§ c:§o<§ §§2§ 93 25 93 @.3__

§ §§sz § §0§%€§€. §§§ c:§o<§ cs§o<§ 93 93 93 0.3__

§§ EWQE._W§§ §®W@ c=§o<§ Em.mm 93 03 93 §

 

 

 

 

 

 

 

 

infst oam.$& am uaw monE:mB EFA.. va 33 §§ 50 CB.B@ mxnnm wwu_n.:w»n% noel mda m 83 BEA wm wood 3 »rn C:W\BQ w§mm HEAY***

Ozm_u_n Ozm

 

 

 

 

 

 

IMQS_IMU `ZMCN>ZOM E>____<.__»>_.Zmb dam m= monoci_m _\mnm~.<mo._m alan no=mn~mn_ §.§_.: ~m§mw E <mm m 20
Lm O_n m__mZLHQ_mm Uh._..m mkv. b_.m m= bnmvnm§.o: ___.mu_,§,mm. `,_.__nEQ`,am »mxm.w. gyan umwa EB...__S _,m§m.v m <$ mm 20
b>u.m Im<m mr Bx B:§m mdu o§m_\ Bnc`._.mo. mo<m§§m:~ mason umwa mqu _nm`.% m <mm U 20
nbmr§¢j\ 3 <mm …H_ zo C: x:o<<: Im<m w:.< n&.nm§oa Eo§_.mm 39 §§ m <3 § zo
E>YEJ\ m <mm m 20 Cj _30<<: q 3 3mqu
<m:_n_.m E <mm m 20 C:_So<<: bmw m= E=Qw Bom?mo. om`.:© Qm_uom..~.ma 55 _um§o:.: _uommmmm`.u: amax muno§~m..» m <U rle zo
S\Omk.mm_m m <mm m 20 CJ_SO<<J S.\m:w ma< mwwm~m u._.mdowmu nw c§.w`dm Sm an_.:._m` nor__dm nw o:m`._...mmm,u E <mm m zo
O._.__.__mm _H_ <mm m 20 C:§o<<: q mo. agoan
..P.m m= C...m. ._\Ew~"wm D:mam_~¢\ .nmm dm§.__m:~d n:_.~m:$ m <mm m zo

 

¢.§mm a adm mme o;o$. `u_.m: o_" xmo_dm§.~mz.o:w

 

 

id§zmwzh§w meoz mmm~o _ O:. j ._.Em»mw ~ Qm§d\ §§Q§§S\ §§qu §§ §P®§§Sw S._§_§Q
_,.,=§ _§r§m.. UUDBK W m®mqom _Z _._._>_lm :QEEH ©dn~.h:.d,m duval B\~`Q~_C. Qa=w~wm.zw E~.>\\.Od-~ 3__6:®._.»

§bw_m§~ U.O, max mmm© §O-.wd~§ §o.__.§§a_ . ERWS§HP
U~P.~,m \ N \\l §
w_.mzmuk p\¢ ._._.._.?m.. n mr . \ \ \

§§ ,w,§dm. N_..u.. _..o:m<_m§ HX Awmom

 

 

 

 

um"m._v§>§q§‘ mowhm.__.-mw@m \ womhm.?@mm@ Cm._. cmm Oz_.< \] Bm__ §§ §Em@ . \
wmwm~o<®_.$mm_.n<_m<<.oo§ \5 rl.) \N W__M~§t . .~ N.. \b. _~ \M
__so_m..` ~_nx`zw z>§m on Q®§¢dms ab wm mm<_.wmq :§§m

>:._o:_._»m :m»ma m_.m »mxm: n:.mo=< v,o§ Omgo_..m wn:ma_:mm .Emm o: m.Nm-\_m. j._._m»mm nm: :o» wmuwmwm:» »:m <m_E#< 2 qm:m§=n< ow m:< m:._oc:$ _.mzmo»oq 03 ...Zw 13qu

o>wm z>_s_w 3553 m:m§... 510
o>mm zc_,__mm_~n Am-m\_wwm.om@-j
mn:macmmm Emo m.wmu_m
O:m_o$*. 3 .d._.cwnmo m_o_oom:»oa ..~.._m.l_m

OOE§HH<H W>H`>ZOH mm~w~w,wm

 

  

 

  
 

 

   
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

>mmm%m \ §§ U>E. 30sz 25sz 302§ 302§ Eczam EQZ,E
§me ®®-m\mobm §§
n:xwmzq >mm§w »M@W , §§ W y _,_,_,,
OH_. :HM.=§E.& >,Ho§$ CBEO<,E hh@umww.q£ P@obww.ww
>noc:§m WMOQ<..»EP 22 CDWHO<<.D raw rm©©.©m
F<Q=BJ__~ Ho<<n~\ o_…,OQmH 2 §me Cn§o<<d w»@wodmm@.w~
T.numa mxuw:wwm CEEO$B C:§O<<d
E<mm§ms$ - dawsme 5 <m:§.mm CEQ.E$B mwwuqco.co
OEQ CBSO$B CBSO<,B
HOH>H nc§m§ >mmm§ CEBO§ :\., Gb:w.@w CRB@§Q Cm§@§ 900 900 900
E~meEH W>zq W mcc%. ® 003 CESQ§ ~»\EH$@.@@ CBBO§
Hnmm >oo§d=§nm Ua§.oo§mon C$§O$d CDW.DO§ anbo<<w
ZMH wOOW <>PCN O,m mm wm m CBWBQSB Cn§o§ CM.LGB<,B 900 o.oc 0.0o 900
oEmw >mmm$ . _ . . _ s
W. .Hm.x dogme §B§o§ C$§O§ debo¢<d
N F<ww§w=$ § m=rmw&.§wm vabo¢<w Cw§©§ debo§
w. m_mo§o Umwowm - gum m:m~§ Cn.:d` C:§O§ rhm©.©© ©.OO
L.
.Ho§r >mm@@m c:§o§ cz§§§ CBS@§ C=§o§ 33 §§ Y.¢@
* mg mcdou_.mww E.B m§m=.~w§ B.§E,B
ZOW-N wmath :\§\&

b=_o::»m =m»mn m..m »mxm: a__.mo»_< 363 Umd»o_..m wn:ma:_mm m_ma o: m.mm-._ m. AEmHmm nm: :o» _.mu~mmm_._» gm <m=a#< o_. ~m=de.Q 2d m_._< mBo::wm qm:mn»mn o: »:mw wm_m:nm m:mm».

o>mm z>_<_mn Y_Bm~m m:@§» _._.O
n>wm zE=mmm~ Mm!méw@mémmij

OO?E.>->HH<H W,PH_>ZOH mmmm§.w
E>EEH:Wm nw O¢<Zm-.m §§ §§ z_oz§ 25sz zoz:._ zozi 26sz _sozd._

HOC.~‘H% @®:w Qw..@mo>w dwa §§
E>wF:Ew w _ ¢_, __

 

 

z s .

 

 

   

woma._u§cz §FEHW§Q»£
Dm.mm§oz E>w F:.Ew

223 wm<w§m . mmoEmQ
wlan Ua_u~

mmaw~.m~ EnoBm wa
EO§§~EEEM

Cswmo=_.ma dog

O.Sm~

.».O.EF wmm,wm§~oz _LEWE§ CEEO§E C:_go<<.: C:W:o<<: 900 o.oc o.c¢ o .¢o
HQEF E§FEEM C §§ CESQ.§ cage/§ 93 o co 35 93
o€zmw.m 553 BMEQS . /. y .J . ., , , : . ` ,_ ,

 

 

 

 

 

 

 

 

 

ENMIWWEWU m._.OO~A

OO§OZ m.~.OQ~,

>UUH.DOZ>F w>:u.m/_ O>wi.>r
Wm.~,§ m>WZ.=/~Owu E.:sm UB»
§H>Emd m>§=/_Qw~ 193 m:m:w Um€

 

 

 

 

 

 

 

 

 

 

 

 

359 o§w,w mo§< § 20»,§ C:§o§ CBSO§ CBQE<,B cba abc abc ccc
HO.H>F

FH>WE\H:Hm md `

O§me HOE.E~ E:.W:o§ C:§o<§ Cm§o§ wade Mc.oc wo.oc waco

 

 

 

 

* 13 mosan_Emm ga mSHBR: ow>wwm~._.m
gazle

wm&....wm _. _..§A§u\

>Bo::$ =mdmn m_.m norma am:wn__"_< ..wo_: Umu»oq.m mn_._ma:_mm Emo on m.wm-.u m. ._.Em»mm nm: :o» <mw=mmm:» gm <m=a_€ o_. _.m_._mw.==.< o* mn< N:._o_._:»m qm.n_mn»mn on »Zm mm_m:nm m:mm».

Q>mm z>z__w P_BmB m:mE<_ vro
o>wm zc_smmx" G-ml_ wmm-om@-.;

mOEHUGHH Od wOmH.-WHHE.~OZ F~>w~FHH~Hm

 

HSOZH¢
Qw-mh¢:m

EOZ.HU
.`._:-.~_® H:m

HSOZ.HD

?MOZ.~,D

WSOZ.H.N

ZHOZ.HD

 

H§dmd®®©§_m_ 3a EAW~.N

 

.FPX U><>wwm

 

m@u§,w_ NB_B_~ .H.mxnm

 

 

m§n maier mewm

 

>a <RQRB ,H§mm

 

093 HEEM

 

.~.O._.>.r .~.>vmmm w><>wwm

CBBQ§B

CEBO§S

o.oo

cbs

o.oo

o.oo

 

mmOCme UEWH wOm.M.%mHM.EOZ

 

>OOWCMU §m.mmH w><>w§w

 

>OOWCmU HNOmmmm~OZ>H mmmm»

 

O.H.~Hmw >OOWCMU F§F:Mmm

 

~.

 

 

w.

 

w.

 

 

H.O.H>H. mOm.H-HMHH:OZ FHFWMFHHEM QSOW.NV

 

CEBQ¢§

 

CEBQ§B

 

mo.co

 

mode

 

wo.oo

 

wo.oc

 

,kw»@...=n=d _.BE..B noia >uc~.o<w~

ZOW.“.

>=._o_._:»m =m»ma mqm »mrm: a:.mn=< 263 _umd»o~.m mn:mac_mm :_ma c: m.wm-._m. AEw»mm own :o» ~muqmmm:» gm <m_m&»< o_. qm=mu=:< 9n m:< mBo::$ _.m=mo$n o: _..Em mm_mzoo muoov

 

mnc_.»§_ ~ `\Q®Gm

O_Dmm Zb_sm"
Obwm z:_smmmn ._m-m._ w©m»nm ll_._

_u;m._m_.m m:m~

. Ml_lG

 

 

>D~ZG Om NOMH-HMH~,:OZ FEEL:,EW

gavsz

H_.:h_.$_:m

 

U,P<m

HO.W.>H

,E~>Cm
>OOOCZHm

w.mdm§r
H>N.mm

m,_}>,_»m
H>X..mm

_PU <>H.Ow.m§d
O\H.Imw H>Xmm

 

o,wo

o.oo

 

w 700

o.oc

 

§ loo

0.00

 

@m+

900

 

HO.M>H

Cs_h:o¢§

wo.oo

wo.oo

mo.oo

wo.oo

wo.oo

 

>OFZO Om, >OOOGZ.HM WHOHH<>WFH

 

gO.Z.wE

 

abc U>M~m

 

w T®O U><m

 

918 U>m~m

 

mw+ U><m

 

HO.?PF

 

C:§G§B

 

 

%o.co

 

waco

 

Wc.co

 

mode

 

Q0.00

HSOZ.~.E

 

 

gOW¢m

>Boc:~m __m»mn m_.m »m_$: a=mn¢< .~35 UQ_u~oq.w mn:mq=_mw m_mn on m-Nm-.“m. ._._,:m$m nm: son _.Q_E.mmm=». wsm <m=&»< o.. B_mmz=~< 3 m=< mBo::$ _.m*_¢n$m o_._ »Em mm~m:nm m:mm_.

dméwma_ d ~\Qw§m

n>wm z>z_m" _u=.BmB szmKu _._.O
o>mm zc§mmmu ._m-m$@m-nm -j

 

mH>Hm§Z.H 00 ~ZOOH<:.… QLOm@

 

 

 

 

 

 

OTHW.P.=ZQ §H..me..m"
mn=.Em wm §wn~_bm

 

__=oz.E 25sz _soz~.m :ozd._ _soz§ 3051 355 3

0\0-0\00:0 d_-q:w:m 1`_:0-$_0 050 G>Hm
wm<mz:mw §ow[: CBQBSB EEQBSB 00¢§0.0..~ 00"§0.~0
3501 33 on wm<mzc.mw 0.00
owomw 263

 

 

O&:E.N._ mm >a_.BE.mUmm<n

 

gmamqm OcEUm:wmn.on

 

Yow@mmwosm._ 102

 

 

005

 

OEE

 

A,O.H._:\ OWHW>.:ZO Emzmmrm

 

C:wbo<<=

0.00

0.00

0.00

0.00

0.00

 

_.ZnO?Mm wm_uOWm ~Z.F Um~.§>k QSOW:C

0.00

00LNO.NQ

0.00

0.00

0.00

 

___z,~m»w§, m§.mzmm

 

Um~vw.mn;dOZ

 

O.E.me. B,MOO?_HU mvn_vmzwm*

 

O.E..~m~w E.m§m:

 

,_.O.H>F ~Z..F Ummx wm O§W E.m§w

CBQB§

CBBO§

0.00

0.00

000

0.00

 

 

Zm.l_. _.ZGOE wmmOW.m H>Xmm

0.00

%<>FC.E

S,EMH

000

000

0.00

00.;.0.N0

 

 

dmbmm.»._.. mZOO~Sm .w>k.mm

0.00

 

 

Fz._m.~. ~.ZOOZ.H Armev _..ZON.C

Cs.§o§

 

CEQB¢B

 

000 wa.wq

 

00.00

 

00.00

 

00.00

000 MNM.~Q

 

 

 

dnn_.cn_§nnn§=.zm wan£....nn.. QSB.§“R ._HQQEQR. §._,._» EE__B=..§.

* ~woo_§`m .§~§n.m§..¢.

a a Q:E_.E_` §b_\o_. §.mm:ms., `..SS_@ n::.~.n_o 3m S.B.§ nomme §quth _..mm:_._.&.\_®o§a_m.

§OW-m

>_._._oc§.m =m`$n w_.m Jxm: a:.mnd_< :.o_: _um§o_..m mo_._ma_._~¢m m_ma o: m.Nm-Am. ._.Em»mm nms :o» ~mu~mmm_.: 25 <m=%»< 2. wmmwv=#< o* m:< m_.=o::$ _.m*_mo»mn o: 55 mmmm:n¢ w:mm".

dw<qmn_ w w \00\.00

n>mm z>_sm" m_._Bm~m mam~m<_ 510
o>wm zc_smmm.. 300 mmm-omm-._._

 

 

 

 

 

     

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

gm¢ §Omm§,m >zd goz§ EQZE EQZ,E govém Zo,z.E EQZ.E mEzm Ho
UHMWCWUHHSHZAM 0$>0$0:0 N;-H;whm 0_:0\.~_®:; w>._.m

_. o>mm.mmmEon am 75sz 0¢00.000.00 0030000.0 _
EWGEEW h M%WW…WM _ \

~. 9mm m>rmm

w norrmo,:oz 01 >onocz$ wmnm?>mwm 0.00__

+ ro>zm w >m<>zomm §§ mmc 0.00__

w m>rm am >mmmqm 0.00__

9 B.EW manor § 0.00__
SEEE;: ca§§ cn§@§ @@~,EQ 25 02 25 980
9$90§§5 nanav=mo: g M=&<E§_ UQ,EOH §.Na
u_mw§w¢§z;" . .. . . .

s 25 §ESEK C:wbo¢§ 0.00

w §§0§. dywa §E C:§os£ 0.00

w m_:lmmu cmm v o~.mmw M,>xmw §§ Cm§o§ 0.00
5 mmnmwm§wm§>§rm>mmm Cs§o§ 0.00
;, E.FH,HM w Hmvm_iozm CBQE<,B 0.00
E, Em:w>znm C:_n:o€: 0.00
3 E<m§dw< §§:>mmw G:w:o<<w 0.00__
z. <mEnE m§mzwmm C:who§~ 0.00__
;. E<mr w mz._.m§§ CBSQ¢§ 0.00__
5 §w>m$. §>zmm w m§€§§ CEBO;B 0.00=
:_. §§mEHEm v mmFEm C:§Q<,B 0.00
;. >Umoc>dm wwc,~mndoz m>§@ CEADOSB 0.00
B. 05 §§ 03 0.00
359 Emwcmmm§zqm E§s o§w>dozw Cz§o€: 0.00 0.00 000 0.00 0.00 0.00
5 wwowmmm~oz>w mmmm 0.00
5 c.m. dE.E.mm mmmm 0.00
E. o§ wmcwm§>doz m§mzmmm §§ § 0.00
AOEF Emww£mmgm.zem§ Cb§o§ NuNNw.ww 0.00 0.00 0.00 0.00 0.00
§ 23 n>mm 302 CBSO$E 00LN1\.NQ 0.00 0.00 0.00 0.00__
w §=-m§ §§§ ES.@ S£._§.: W£,@m@: Y@§.S §§ §§ 33 §®.§.K =

w >nw:@m 8 F&<.Ec.& 00 390 esq
HSOW.Q **ZE.:@@E 03 50 QE,EZ BQ=W &:EE gmm:$ 0385 . with :\§\E

EmOmbu.H.m man OEMOWM`_OH§W UHmeWmmgm~/E,m =smm 05 HSOW.Q

>Bo:=_..m =w~ma m_.m B_S= o=.mou< 263 Uosno~.m wosoa:_mw 103 oz m-Nm-.” m. .E._._m_.¢m own :o» Bu~mwm=» 05 <m=&€ o_. ~.m=mu=#< o* m:< m=_o=:...w ~m*_mo~mn on 55 mm_m=om wsmo».
Emc:~mo=._o:$ m:os.= _: =._0 m:..o::» 9. mm.mwm.mm m3 ¢:x:os_:. ._.Ew$m mm _._=mv.m 3 wccw$:¢m»m E:mn a_mccBmBm=U <<m~m Emnm.

O>mm Z>_Smn

_v;§m~m m_._m§<n rrO

n>mm z_.=smmm" Am-m._w@mqom@k:

Q>wm >QGOQZH §OOZO=M>H~OZ

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EOZHE 01 ,E.,>§:m
w>zw z>§w mwmoc mm_§._ mwmoc mwmoc
>ooocz\~ §§ 4332 3 E§NA§ BMSUKN k_@§wamm
\_0.0.QQ>E, gude QNN§HE<Q d\~ namde ,w§ ~\H>_.QM anmm~=mdw ma.w~m mm HQHA~.
§§ w>§znm P£K.§ ~L§.@w §§ _ §§ 3d §§
Umwom§m E §>zm:, 33
ochHB/EE@ nmm@$ Wo.o@
>Ecmd…c m>zw w>r>zom w@.@@ waco W@.@@ W@.O@ Y.@@
wmmEzEQ n>wm - mmr moo§ geo
mmnmm§m* W.Q.@@
Hw>zmmmwm wm§<mmz amocsz C:§o§ Cs§o<§ CBQE€¢ Cm§§§ geo
§…Ec§€>§ ow oozHEwcdoz 5
Hz§<~cc>w cmwaow §E~,.~ Y.@@
ommow@o§mw §mwcwmm§mz§* §§
§§an n>mm f §§ woomm Y.Q@ Y.@o geo §§ geo

 

 

HSOW,®

»ZEMT@B mrnEE .n.m~m:nn AENHE HOH>H. w.mOmD~Hm mbm
HOH>H U…mw§mm§.ZHm EHEm on §O_Wh

>__ qm§m_:m:m mooo::» ..::am .._.o§ Im_uoc 563 <i_.ma &Bnn_< do =5 ._.Em$o o: ._FNN-`_ m. >oooc:$ m_.m o_omma.

h_~m<~wmh. .~ ~_\Qm\aw.

 

adam z>_smn U_._Bmwm msm_.@<n 510

o>mm zc_smmmu Eim._ w@@émm¢j

O>mm >OOOQZ.H §OOZO~FH>H~OZ

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EOZHE Om §.S§m
m>§z>§m mw_noc mmmoc xwmoc mw_.dc
>mmoczH zc§mw B§NU§ E§Nm@mm ,_@~%,m§ BNBSS
d QO.QS<H dowd MQE~S§W maw~m um .wn~.ma§“.aw maw~m md -D. Em?§m dunn d~mn# m§d ¢E_ HQH\=\
m>zw w>w>znm E“owo.o@ ….om mo?c&.ww jnmwo.w@ §§ nmj.f
o§cw§m 2 §§sz %@.@@
oc?§,>z§z@ ommo§ _ geo
>Ecmj…o w>zw w>§zom Y.Q@ M@.O@ Y.@@ wo.@@ 33
wma§z§@ o>mm - §§ mooww M@.oo
wmom:§m* Y.O@
H,F>memwm wm»,¢<mmz >OOOCZHM an:oé: C§o€z CESQ$B C.m_§o<<: wo.oo
A§Ecw>€>§ on QOZ,EWE,SZ w<
§§oc>r omw@ow §ES mo.@@
ommo§\g§w o…mwcwmm§mz§* Y.@@
mzu§m n>mm - §§ gon 33 33 geo made waco

 

 

H<MOW.Q

*Z§w§m wro=E Us~mbnm hn._m~n€ HO.H>H` §Om~.wdm ga
HOH.>»H_ UMWWCWMU§ZHM :dwm 03 gOW._w

>= qm§mm:._:m mooo:n» E_._am 563 Dm_noc <<mqm s..?ma &~moa< 3 ~:m ._.Em$m o: ._..N.\.\_m. >ooo::»m m3 o_omoa.

Dm¢_wmm_ ~_ _.\Qm\__.._,.m

 

n>mm z>_.__._m“ P._Bm~m m:m§<. rra

o>mm zc_smmmn 512 w@@-om@-j

G>mm >OOOGZH §OOZOHFWPHHOZ

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

EOZHD OH §-§:G
w>ZW Z>§m <<m__m mm@o mm:x <<m=w 360 mm:x <<m_mm _umEo mm:x
>§ocz@ zc§mmw m§$w§wm wm@§§~m m§&w@wwm
AQSS<H §§ Qmm§ 320 § §<S. Qmm§ §§ § §§
m>zw w>w>znm - o@@§m ww.§ wm § §.§ @§ w w §§
Umwomim 2 ,:~>zm:, §.§
oc§§z§zm nm§§ §§
>Q§Hmc w>zw §§sz §§ §§ §§ §.§ §§
wma§m o>mm - §§ §on §§
w§§ém* §§
H§zmmmwm wmj<mmz >§oc…z§ §.§
¢<E=U§€>S oz nozdzmcdoz w<
Ew§:>r amgen 233 §§
n§n§\§mmx Q§cwmm§mz§* §.§
mz©E@ m>m: - §§ moo§ §.§ §.§ §.§ §.§ §-§

 

 

g©w~.m

._._.cm»om ao_._._m:ama _"E.:o<mq oq E:nm ¢0=. <<m=m _"m_.mo wm:F m= mnoo::$ 553 wm.oo. >oooc:$ w:.m o_omma.

*ZE.:@@B mroza UEE.EG maian .HOH>H WHOMHTHW aba
HOH>F U…mw§mm§wz,mm :so.m on HSOD...~

xa§..»mm. ,~ ~%w\cm

 

 

O>mm Z>_smu

_u:~:m~m m:mE<_ ~._10

o>wm zc§mmxu ._m-m\_mmm-om@-j

O>mm >OOOCZH §GOZGELH>H~OZ

 

 

 

 

 

 

 

 

 

 

 

 

 

3021-5 01 d§-§:m
w>ZW Z>§m ._.wxmm mm:x man ._.Ew.n wamm mm:x man jan ._.mxmm mm:x man .“.Emw
>nnocz,~ §§ m@m@mm
andequ §§ me§ §§ §§§
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BSA (Ofaceal me eA) (12/07)

m re Pr|mera Energy, L.LC

43

C.ase No. 15~51396
(if known}

SCHEDULE A - REAL PROPERT¥

 

Da)smgtloh and

 

 

 

 

 

21022 Gathen'ng Oak Bidg 2. San Antonio TX 78260
NCB 19216 BLK 11 LOT 17 Buflding/Land

McMu||en County Property
285 Acre iease in McMu!|en County
(Valua is original purchase price)

Gonza|ez County Proper*ry
380 Acres in Gonzaiez Counly
(\Jalue is purchase prica}

 

Fee Simp|e

Fee S|mple

Fee Simple

 

$?.028,190.00

$BSS,OOO.DD

$874,0[]0.00

 

 

 

$975,082.31 "

$0.0G

$0.00

 

 

Tota|:

 

 

(Repori aiso on Summary l<:o|' Schedui ies}

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BSB (Oi‘i'ecia| Form BB) {12/07}

|n re Primera Energy, LLC

4a

Case No.

SCHEDULE B »- PERSONAL PROPERTY

'15-51 396
(`ri known)

 

 

   

 

ities, ieiaphone C.r)rripairriesl land-
iords. and others

4. Househo|d goods and iurnishings,
including audio. video and computer
equipment.

5. Books; pictures and oiher art
objeois; aniiques; slamp, coin.
reoord, tape. compact disc. and oLi'ier
ool|eclions or oo|iecijb|es.

 

 

 

Ti(r>@.of"!=mnariy § D_e.sc'n$!ierrand;wczaiim
1. Cash on hand. X
2. Checi<ing. savings or other Hnan- RBFCU $77,577.14
cia| accounts certificates of deposit Biack Hawi< #‘i *’6073
or shares in banks. savings and ioan, `
thrifl, building and |oen. and home- RBFCU $27,688.08 `
siead associationsl or credit unioos. Primera Operating Accouni **5iGO
brokerage houses. or cooperatives 3
RBFCL} $27.759.34
Primera P)'R Account Checking "5834
RBFCU 3306.210.48 `
Revenue Distriburion Accouni "5759
RBFCU $1.€5
SE #GH "5656
RBFOU $272.00
Pn'rnera SE #BH *‘5357
Primera SE MH “5469 $?0,~329.65
RBFCU » Savings Accounl *”5142 $1,00
3. 33chin deposits \M'ih public uti|- CPS Enengy Uiility deposit $1,480.00

 

 

 

 

 

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esa (omciai z»'orm se) (12/07) ~- cent 43

|n re Prlmera Energy, LLC Case No. 15-51395
(if known}

SCHEDULE B - PERSONAL PROPERTY

Ccntinualion Sheet Nc. 1

 

  

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6. Wearing appare|. X
7. Furs and jewelry. x
S. Flrearms and sports. photo~ X

graphic and other hobby equipmentl

9. interests in insurance policies. X
Narne insurance company cf each
policy and itemize surrender or
refund value ot' each.

10. Annuities. itemize and name X
each issuer.
11. lntereste in an education lRA as )(

defined in 26 u.s,c. § 530(2))(1) er
under a qualified State tuition plan
as deemed in 26 u.s.c, § 529{1:»)(1).
G|ve particulars (File separately
the record(s} cf any such interestis).
11t1.e.c,§ 521(¢).)

i2. interests in !RA, ERlSA, Keogh. X
or other pension or profit sharing
plans. lee panicu|ars.

13. Stock and interests in incorpc- X
rated and unincorporated businesses
itemize.
14. interests in partnerships or joint Primera Montague l.egacy ZH 2.05 outcf10 units $623.700.00
ventures. liemize. 516.81}1}.09
The Prirnera Screarning Eagle 2H 7.545 out of 100 units
$168,000,00

The F‘rimera Screarning Eag|e BH 9315 cut of 100 units
SSTB,OOG.DO

 

 

 

 

 

 

 

 

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BEB (Orilcial Forrn GE} (12/0?) »- Corit. 48

ln re Frirnera Energy, LLC Case No. 15-51396
(if known)

SCHEDULE B - PERSONAL PROPERTY

Contr'nuarion Shser No. 2

 

   

 

Ng:n;s"'.

rypeer;'erossny: .osecretariesdiseases-at empsr_iy-.:

 

 

The Prirnera Screaming Eagle 41~| 1898 out of 100 units

$46,200.00
Brushy Creek V Joint Venture Work|ng interest
36,300.00
Brushy Creek IV Prospect.iolnt Venture Worl-ting interest
$4.200.00
Brushy Creek \/l JV Won<ing interest
$4,200.()(}
15. Governrnent and corporate bonds X
and other negotiabie end non~
negotiable instrumentsl
16. Accounts receivable Black Hawk #‘i $t.t 10,728.73
|nveslor#‘i 651150.88
investor #2162.&77.20

investor#fi 35.339.92
|nvestor#4 46.491.23
investor #5 17.669.96
investor #6 15.143.96
tnvestor#? 32,575.44
lnvestor#B 32.5?5.44
|nvestor#ti 16.287.72
investor#1t) 1?,669.95
lnvestor#‘lt 71,491.23
lnvestor#‘tZ 8.143.65
lnvestor#13477,9'12.30
investor 1114 B,t43,96
Wai|s,Sharon 70,680.23
investor #16 32,575.44

Screaming Eag|e BH $310.662.25
investor #1 9,757.0{)
investor #2 5.196.50
investor #3 9.022.25
|nvestor#4 26,(}44.50
investor #5146,800.00

 

 

 

 

 

 

 

 

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355 (Ofi”lciai Form SB) (1 2101') - Ccni.

in re Primera Energy, L.LC

48

Case No.

SCHEDULE B - PERSONAL PROPERTY

Conrinuetlorr Sheet No. 3

15-51396
tit known)

 

cian et dresser

 

4 -`None

uescriptioit'=sn' i_‘ooeticn;ot.l?r`eperty

  

 

 

17. Aiimony, maintenance supportr
and property settlements to which the
debtor is or may be entitled Give
particutars.

18. Dlher liquidated debts owed to
debtor including tax rerunds. Give
particulars

19. Equitable or future interestsl life
estates, and rights or powers exercis-
abie for the benetit ortho debtor other
than those listed in Schedule A ~ Rea|
Property.

20. Contingent and noncontingent
interests in estate of a decedent, death
benefit plan, life insurance poilcy. or
irust.

21 . Oth er contingent and unliqui»
dated claims or every nature
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims Give estimated value of each.

22. Patents, copyrightsx and other
intei|ectua| property, Give
,i:>artit:l.liarsl

 

investor#fi 11.666.00
investor #7 9,196.50
investor #B 10,?'57.00
investor #9 19,953.50
investor #10 43,028.00
lnvestor#ti 19,241.00

 

 

 

 

 

 

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sss rotticrai mm ssi mrch -- Ccnr.

in re Prirnera Energy, LLC

4a

Case Nc. 15~51396

SCHEDULE B - PERSONAL PROPERTY

Coniinuari‘on Shecr No, 4

 

Type cit F!rcperty.

l Nc'r're

D:escnprl:in,end tccetionrot!r'§nqperty ,i

 

 

 

23. Licenses, franchises and other
general intangibles G|ve particulars

2»4. Customer lists or other compitations
containing personally identifiable
information (as defined in 11 U.SlC.

§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for persona|, famiiy, or
household purposes

25. Autornobi|es‘ trucks trailers,
and other vehicles and accessories

26. iiioats1 motors. and accessories
27. Aircratt and accessories

25. Oriice equipmentl furnishings
and suppliesl

29. Maci'iinery, fixtures, equipment
and supplies used in business

30. inventory.

 

 

Not provided per regulation

P|ease See Atteched

49.62 t.irnits in Screaming Eagie #GH @ $106,964,00 per
unit

10_00 Units in Screaming Eag|e #Gi-i @ $108,694.{}0
retained by Debtor which couid be sold

18.12 Units in Boda Blaci<hawi< #1 @$96.491.00 per unit

7 Units in Buda Biackhawi< @ 596491.00 per unit retained
by Debtor Which could be sold

 

 

 

S0.0D

$38.340.00

$5,406,793.68

$1,089,640.00

$1.748,415.92

$675.?38.61

 

 

 

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48
Primera Energy~ Furniture, Fixiure and Equiprnent Lisi
Of'Flce iltem l frost perritem iNote `
Geoioglst Ofiice Desk $ 200.{)0
Cornpuier $ 400.00
Flling Cabinei $ 100.00
Chair $ 50`00
B|ack Fi'i`lng Cabinet 5 20.00
She|f $ 30.00
Accounting Asst Oft'rce Deek $ ZDU.OD
Compuier X?. $ 400.00
Filing Cabinet $ iDU.UO
Chair 35 ED.CIO
Cha§r $ 100.00
Wo-od Cabinei $ 30.00
Paper Shredder $ 20.00
Printer $ 50.00
Floor Lam;) $ 30.00
Corporafe CPA Ofiice Deak $ 200.00
Computer X 2 5 400.00
Fiiing Cablnei X 2 $ 'iDO,iJO
Prlnter $ \ SO.UO
Chair $ iDD.DO
Booksheif $ GD.OU
Paper Shredder $ 20.00
Reoepiion Area Deel< $ 500.90
Chair $ 50.00
Credenza $ - 75.00
Compuier $ 400.00
Couch $ 300.00
Floor l_amp $ 30.00
Executive Assl Oi*hce Desl< $ 200.00
Credenza $ 75.00
File Cabinel $ ‘lOG.DO
C'nairX 3 $ 150.00
Compuier X 4 $ 1,200.00
Printer X 3 35 300.00
Posiage Fioom Chair X B $ 400.00
Booi<eheif $ BO.GD
Wire Fiack $ 20.00

 

 

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Srnail Tabie $ EO.GD
Wori< Roorn Xerox Printer $ 6,000.00
Table $ 200.00
Chair X 3 $ 150.00
Fi|ing Cabinebs X 5 $ 500.00
F'|asiic table $ 20.00
Paper Shredder $ 20.00
Fax Maohine $' i{i0.0D
Ho|e Punchi‘Spira| Nlachine $ 1.000.00
Corporaie'/\rtorney Ofl'\ce Desk $ 200.00
Cumpuier $ 400.00
Cilair X 3 $ 150.00
Couoh 3 300.00
Teievislon S 400.00
Fiiing Cabinet 3 iOG.OO
Credenza ii iO0.00
Microwava $ 20.00
Refrigerator $ 100.00
i<ltohen `l'abie and chairs $ 800‘00
Rel‘¢"lgeratoar $ 1.000.00
Credenza $ 40.00
Coffee Maker $ 300.00
Mlcrowave $ S0.0D
Conference Room Tabie $ 3.000.00
10 Chairs 3 'i,OU0.0G
Credenza 3 150.00
DVD Piayer $ 40.00
Te|evision 5 400.00
Offioe 1 Computer $ 400.00
Desk 3 200.00
Chair X 3 $ 150.00
Recepiion Area Desk 3 1,000.00
Computer 5 400.00
Chair )< 3 5 150.00
Tabie X3 $ 300.00
Larnp X 2 $ 100.00
Prirlier $ 50.00
Credenza $ 200.00
Fiiing Cabinet 3 ‘iD0.00
Couch $ SO0.0G

 

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48
Paper Shredder $ SG,GO
Ofiice 2 Desk $ 208.00
Credenza X 2 $ 20£},£)0
Chalr X 3 $ 150.00
Television $ 4{)(}.00
File Cablnei $ 100.00
Chair with Oitoman $ 300.00
Reirlgeraior 5 100.00
Oriice 3 Desk $ 200.00
Credenza 5 100.00
Chalr X 3 $ 150.00
Te|evisi~on $ 400.00
Computer $ 400.00
Lamp § 30.00
Refn`geraior $ 100.00
Booksheli $ iOU.DD
Srnai| Tabie $ 30.00
Offlce 4 Chair 33 BD.DD
Desl< $ ZO0.00
Credenza $ 100.00
Compuier $ 400.09
C»ornputer Chair $ SD.DG
l.amp X 2 $ 60.00
Ofi'\ce 5 Credenza $ 100.00
Booi<she]f 5 100.00
Dls|< $ 20.00
Chair $ 59.00
Couch $ 206.00
l.arrlp >l 2 $ BU.DG
Small Table 3 30`00
Of'f'loe 5 Chair X 2 5 100.00
Credenza $ iD0.0U
Lamp $ EO.DD
Deslc 5 200.00
Compuier 5 400.0€3
Srnail Table $ 30.00
office 7 ` credenza s 100.00
Chair X 2 $ 100_00
Desl< $ ZGG.OG
Computer $ AOD.GO

 

 

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48

 

 

Ofiice 8 Cheir X 2 S iOD.OO
Desk $ 200.{>0
Credenza $' iDEi.OO
Cornputer $ 400.00
l_arnp $ 30.00

Bul|Pen ' Credenza X 2 $ 200.00
i_arnp X 2 $ B0.00
Te!evision X 4 $ 1.600.00
Compuier>< 4 $ i¢GDO~OO
Printer $ 150.00
chair x s s 400.'00
emi<sheir s 300.00 `
Tabie $ ‘lOO.GO
Fireplac:e Heaier $ 300,00
Nl|rror $ 50,00
Ciock $ 30.00

 

 

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BBB (Oh’icia| Form SE) (1210?) - Cnnt. 48

ln re Primera Energy, Li_C Case No. 15-51396
(if known}

SCHEDULE B - PERSONAL. PROPERTY

Cont‘i`nua!r'on Shaet No. 5

 

 

 

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Ty;)a.ot.Prooe-ny _ § Descr_ipiion=and l;ocati_onnfj.§i?r`opc'dy

3?. Anima|s. X
32. Crops - growing or harvesled. X
Give particulars
33. Fenning equipment and X
implements
34. Farm supplies chemicalsl and X
feed.
35. Other personal property of any Ciaim againstTajas Tubular Products, |no. tor damages Unknown
kind not already iisted. |temize. from 2 separate occurrences involving faiiure of a coupling

and case pipe manufactured by defendant on Screarning

Eagie A #SH

Ctairn against Brennan and Shorl and N Zone for damages Unknown

incurred in drilling on the Screaming SH

 

 

 

 

 

5 continuation sheets attached

. Total >
{inotude amounts from any continuation sheets attached Repon total also on Surnmary of Scheduies.)

 

 

 

 

 

 

